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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                            8:14CR409

        vs.
                                                                                   ORDER
EMMANUEL CHAPLAIN,

                           Defendant.


This matter is before the court on defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE
PRETRIAL MOTIONS [62]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 5-day extension. Pretrial Motions shall be filed by January 28, 2015.


         IT IS ORDERED:


         1.       Defendant's MOTION FOR ENLARGEMENT OF TIME TO FILE PRETRIAL MOTIONS
[62] is granted. Pretrial motions shall be filed on or before January 28, 2015.


         2.       The defendant is ordered to file the affidavit required by NECrimR 12.1(a) regarding speedy
trial as soon as practicable.


         3.       The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between today’s date and January 28, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel required
additional time to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




         Dated this 26th day of January, 2015

                                                            BY THE COURT:

                                                            s/ F.A. Gossett, III
                                                            United States Magistrate Judge
